           Case 1:17-cr-00232-EGS Document 178 Filed 04/09/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

      v.
                                                     Crim No.: 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant



              COVINGTON & BURLING LLP’S SUPPLEMENTAL NOTICE
           REGARDING TRANSFER OF CASE FILE TO SUCCESSOR COUNSEL

       Covington & Burling LLP (“Covington”) submits this Supplemental Notice to provide

information to the Court about the transfer of the case file to successor counsel. On July 25,

2019, Covington & Burling LLP filed a Notice Regarding Transfer of Case File to Defendant’s

New Counsel (Doc. 99). That Notice informed the Court that Covington had transferred its

working case file in this case to new counsel within days of the termination of its representation

of Mr. Flynn, and that we had then turned to identifying, collecting and transferring a large body

of emails, text messages, handwritten notes, time records, voicemails, hard copy documents, and

other records that were not maintained in that working case file during the ordinary course of

business. Having finished that process, we stated that “the firm’s transfer of its case file to

General Flynn’s new counsel is now complete.”

       In reviewing materials in response to the Court's March 6, 2020 Order (Doc. 174) to

respond to Mr. Flynn’s specific allegations in his Supplemental Motion to Withdraw Plea of

Guilty (Doc. 160), however, we have found emails and two pages of handwritten notes that were

not previously transferred to successor counsel. With respect to the emails, this appears to have

resulted from errors in the process of collecting and searching electronic materials that were not
         Case 1:17-cr-00232-EGS Document 178 Filed 04/09/20 Page 2 of 2



contained in the working case file. The two pages of notes appear to have been inadvertently

missed during the file transfer process. Today, we made a supplemental transfer to Mr. Flynn’s

current counsel of the emails and notes identified to date as not having been transferred

previously. We are in the process of working with our information technology personnel, as

expeditiously as possible, to determine what other materials were not captured by the prior

electronic searches and to collect and transfer them promptly to Mr. Flynn’s current counsel. We

will apprise the Court when this is completed and will provide any further information that the

Court requires.



April 8, 2020                                Respectfully submitted,



                                             Robert K. Kelner (D.C. Bar No. 466880)
                                             Stephen P. Anthony (D.C. Bar No. 426536)
                                             Covington & Burling LLP
                                             One City Center
                                             850 Tenth Street, NW
                                             Washington, DC 20001-4956
                                             (202) 662-6000




                                                 2
